Pmb 35
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Case 2:95-cr-20277-.]PI\/| Document 25 Filed 09/02/05 Page 1 of 2 Page|D 7

Report and Order Terminating Probation)'
Supervised Reiease
Prior to Origina| Expiration Date

United States District Court

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FOR TI~[E
WESTERN DISTRICT OF TENNESSEE
UNITED STATES OF AMERICA

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Cl'im. No. 2:95CR20277-001

On July ll, 1996, the above named was placed on Supervised Release for a period of five (5) years. He
has complied with the rules and regulations of Supervised Release and is no longer in need of supervision. lt is
accordingly recommended that he be discharged from Supervised Release.

Respeetfully submitted,

U.S. Pél$ition Officer

ORDER OF TI']E COURT
that the proceedings in the case be terminated

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Pursuant to the above report, it is ordered that the defendant be discharged from Supervised Release and
Dated this

day of §_5€`/7`_. , 20 (15.

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nited States Distriet Judge
This document entered on the docket

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UNITED s`TATEs DISTRIC COURT - WESETR DI's'TRICT OF ENNESSEE

   

Notice of Distribution

This notice confirms a copy of the document docketed as number 25 in
case 2:95-CR-20277 Was distributed by faX, mail, or direct printing on
September 6, 2005 to the parties listed.

 

 

Stuart J. Canale

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

l\/lemphis7 TN 38103

Honorable J on McCalla
US DISTRICT COURT

